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                Exhibit 1
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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

 v.                                            No. 1:21-cr-158 (RC)

 KYLE FITZSIMONS

                         PROPOSED JURY INSTRUCTIONS

       The parties submit the attached Proposed Jury Instructions, using brackets to

indicate options for the Court. All instructions are from Criminal Jury Instructions for

the District of Columbia (Fifth Edition, 2021 Release) (the “Redbook”), unless otherwise

noted. The parties respectfully request leave of Court to submit supplemental proposed

jury instructions as may be necessary to conform to the evidence introduced at trial.

       The parties agree with all of the proposed instructions, except the government

objects to proposed instruction 9.510, Defense of a Third Person.

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                                            1.102
                             Preliminary Instruction Before Trial

          Introduction

          Before we begin the trial, I want to explain some of the legal rules that will be

important in this trial. I want to emphasize that these remarks are not meant to be a

substitute for the detailed instructions that I will give at the end of the trial just before you

start your deliberations. These preliminary instructions are intended to give you a sense

of what will be going on in the courtroom and what your responsibilities as jurors will be.

          Notetaking 1

          When you took your seats, you probably noticed that each of you had a notebook

and pencil waiting for you. That is because I permit jurors to take notes during trial if

they wish. Whether you take notes or not is entirely up to you. Many people find that

taking notes helps them remember testimony and evidence; others find it distracts them

from listening to the witnesses.

          You will be permitted to take your notebooks back with you into the jury room

during deliberations. You should remember, however, that your notes are only an aid to

your memory. They are not evidence in the case, and they should not replace your own

memory of the evidence. Those jurors who do not take notes should rely on their own

memory of the evidence and should not be influenced by another juror’s notes.

          Other than during your deliberations, the notebooks will remain locked in the

courtroom during recesses and overnight. You will not be able to take the notebooks with


1
    Redbook 1.105


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you as you come and go and you will not be permitted to take them home with you

overnight. At the end of the trial, when you come back to the courtroom to deliver your

verdict, your notebooks will be collected, and the pages torn out and destroyed. No one,

including myself, will ever look at any notes you have taken, so you may feel free to

write whatever you wish.

          Identity of Alternates 2

          You have probably noticed that there are [sixteen (16)] of you sitting in the jury

box. Only twelve (12) of you will retire to deliberate in this matter. Before any of you

even entered the courtroom, we randomly selected the alternates’ seats. I will not disclose

who the alternate jurors are until the end of my final instructions just before you begin

your deliberations. As any seat might turn out to be an alternate’s seat, it is important that

each of you think of yourselves as regular jurors during this trial, and that all of you give

this case your fullest and most serious attention.

          Now let me explain briefly some of the procedures we will follow and some of the

rules of law that will be important in this case. This is a criminal case that began when

the grand jury returned an indictment.

          The defendant in this case, Kyle Fitzsimons, is charged with 11 crimes relating to

his conduct on the grounds of the United States Capitol on January 6, 2021. Count One

charges the defendant with obstructing, impeding, and interfering with law enforcement

officers from the United States Capitol Police or District of Columbia Metropolitan



2
    Redbook 1.107


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Police Department, during a civil disorder. Count Two charges the defendant with

obstruction of an official proceeding, that is, Congress’s meeting at the U.S. Capitol on

January 6, 2021, to certify the Electoral College vote for president. Counts Three

through Six charge the defendant with four separate assaults on law enforcement officers,

one of which involved a dangerous weapon, and two of which caused bodily injury.

Counts Seven through Eleven charge the defendant with crimes related to his presence

and conduct on the Capitol grounds including, acts of physical violence, disorderly and

disruptive conduct, and entering and remaining in a restricted area. The defendant has

pleaded not guilty to all charges.

       You should understand clearly that the indictment that I just summarized is not

evidence. The indictment is just a formal way of charging a person with a crime in order

to bring him to trial. You must not think of the indictment as any evidence of the guilt of

the defendant, or draw any conclusion about the guilt of the defendant just because he has

been indicted.

       At the end of the trial, you will have to decide whether or not the evidence

presented has convinced you beyond a reasonable doubt that the defendant committed the

offenses with which he has been charged. The defendant has been charged with 10 counts

relating to his alleged conduct on January 6, 2021. For each offense, the government

must prove beyond a reasonable doubt each of the elements of that offense. These

elements will be explained to you at the end of the trial.

       Every defendant in a criminal case is presumed to be innocent. This presumption

of innocence remains with the defendant throughout the trial unless and until he is proven


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guilty beyond a reasonable doubt. The burden is on the government to prove the

defendant guilty beyond a reasonable doubt, and that burden of proof never shifts

throughout the trial. The law does not require a defendant to prove his innocence or to

produce any evidence. If you find that the government has proven beyond a reasonable

doubt every element of a particular offense with which the defendant is charged, it is your

duty to find him guilty of that offense. On the other hand, if you find that the government

has failed to prove any element of a particular offense beyond a reasonable doubt, you

must find the defendant not guilty of that offense.

       As I explain how the trial will proceed, I will refer to the “government” and to the

“defense” or the “defendant.” When I mention the “government,” I am referring to

Assistant United States Attorneys Doug Brasher and Mike Gordon who represent the

United States of America. When I mention the defendant or the defense, I am referring

either to the defendant Mr. Kyle Fitzsimons or his attorney, Assistant Federal Public

Defender Natasha Taylor-Smith.

       As the first step in this trial, the government and the defendant will have an

opportunity to make opening statements. The defendant may make an opening statement

immediately after the government’s opening statement or he may wait until the beginning

of the defendant’s case, or he may choose not to make an opening statement at all. You

should understand that the opening statements are not evidence. They are only intended

to help you understand the evidence that the lawyers expect will be introduced.

       After the opening statement or statements, the government will put on what is

called its case-in-chief. This means that the government will call witnesses to the witness


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stand and ask them questions. This is called direct examination. When the government is

finished, the defense may ask questions. This is called cross-examination. When the

defense is finished, the government may have brief re-direct examination. After the

government presents its evidence, the defendant may present evidence, but he is not

required to do so. The law does not require a defendant to prove his innocence or to

produce any evidence. If the defense does put on evidence, Ms. Taylor-Smith will call

witnesses to the stand and ask questions on direct examination, the government will

cross-examine, and Ms. Taylor-Smith may have brief re-direct examination. When the

defense is finished, the government may offer a rebuttal case, which would operate along

the same lines as its case-in-chief.

       At the end of all the evidence, I will instruct you once more on the rules of law

that you are to apply in your deliberations when you retire to consider your verdict in this

case. Then each side will have a chance to present closing arguments in support of its

case. The statements of the lawyers in their closing arguments, just as in their questions

and in their opening statements, are not evidence in this case. They are intended only to

help you understand the evidence and what each side claims the evidence shows. Finally,

at the end of the closing arguments, I will have a few additional instructions for you

before you begin your deliberations.

       I want to briefly describe my responsibilities as the judge and your responsibilities

as the jury. My responsibility is to conduct this trial in an orderly, fair, and efficient

manner, to rule on legal questions that come up in the course of the trial, and to instruct




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you about the law that applies to this case. It is your sworn duty as jurors to accept and

apply the law as I state it to you.

       Your responsibility as jurors is to determine the facts in the case. You—and only

you—are the judges of the facts. You alone determine the weight, the effect, and the

value of the evidence, as well as the credibility or believability of the witnesses. You

must consider and weigh the testimony of all witnesses who appear before you. You

alone must decide the extent to which you believe any witness.

       You must pay very careful attention to the testimony of all of the witnesses

because you will not have any transcripts or summaries of the testimony available to you

during your deliberations. You will have to rely entirely on your memory and your notes

if you choose to take any.

       During this trial, I may rule on motions and objections by the lawyers, make

comments to lawyers, question the witnesses, and instruct you on the law. You should not

take any of my statements or actions as any indication of my opinion about how you

should decide the facts. If you think that somehow I have expressed or even hinted at any

opinion as to the facts in this case, you should disregard it. The verdict in this case is your

sole and exclusive responsibility.

       You may consider only the evidence properly admitted in this case. That evidence

includes the sworn testimony of witnesses and the exhibits admitted into evidence.

Sometimes a lawyer’s question suggests the existence of a fact, but the lawyer’s question

alone is not evidence. If the evidence includes anything other than testimony and




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exhibits, I will instruct you about these other types of evidence when they are admitted

during the trial.

       During the trial, if the court or a lawyer makes a statement or asks a question that

refers to evidence that you remember differently, you should rely on your memory of the

evidence during your deliberations.

       The lawyers may object when the other side asks a question, makes an argument,

or offers evidence that the objecting lawyer believes is not properly admissible. You must

not hold such objections against the lawyer who makes them or the party he or she

represents. It is the lawyer’s responsibility to object to evidence that they believe is not

admissible.

       If I sustain an objection to a question asked by a lawyer, the question must be

withdrawn, and you must not guess or speculate what the answer to the question would

have been. If a question is asked and answered, and I then rule that the answer should be

stricken from the record, you must disregard both the question and the answer in your

deliberations. You should follow this same rule if any of the exhibits are stricken.

       You are not permitted to discuss this case with anyone until this case is submitted

to you for your decision at the end of my final instructions. This means that, until the case

is submitted to you, you may not talk about it even with your fellow jurors. This is

because we don’t want you making decisions until you’ve heard all the evidence and the

instructions of law. In addition, you may not talk about the case with anyone else. It

should go without saying that you also may not write about the case electronically

through any blog, posting, or other communication, including “social networking” sites


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such as Facebook or Twitter until you have delivered your verdict and the case is over.

This is because you must decide the case based on what happens here in the courtroom,

not on what someone may or may not tell you outside the courtroom. I’m sure that, when

we take our first recess, you will call home or work and tell them you have been selected

for a jury. They will undoubtedly ask what kind of case you’re sitting on. You may tell

them it is a criminal case, but nothing else. Now, when the case is over, you may discuss

any part of it with anyone you wish, but until then, you may not do so.

       Although it is a natural human tendency to talk with people with whom you may

come into contact, you must not talk to any of the parties, their attorneys, or any

witnesses in this case during the time you serve on this jury. If you encounter anyone

connected with the case outside the courtroom, you should avoid having any conversation

with them, overhearing their conversation, or having any contact with them at all. For

example, if you find yourself in a courthouse corridor, elevator, or any other location

where the case is being discussed by attorneys, parties, witnesses, or anyone else, you

should immediately leave the area to avoid hearing such discussions. If you do overhear a

discussion about the case, you should report that to me as soon as you can. Finally, if you

see any of the attorneys or witnesses involved in the case and they turn and walk away

from you, they are not being rude; they are merely following the same instruction that I

gave to them.

       It is very unlikely, but if someone tries to talk to you about the case, you should

refuse to do so and immediately let me know by telling the clerk or the marshal. Don’t

tell the other jurors; just let me know, and I’ll bring you in to discuss it.


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       Between now and when you are discharged from jury duty, you must not provide

to or receive from anyone, including friends, co-workers, and family members, any

information about your jury service. You may tell those who need to know where you

are, that you have been picked for a jury, and how long the case may take. However, you

must not give anyone any information about the case itself or the people involved in the

case. You must also warn people not to try to say anything to you or write to you about

your jury service or the case. This includes face-to-face, phone, or computer

communications.

       In this age of electronic communication, I want to stress that you must not use

electronic devices or computers to talk about this case, including tweeting, texting,

blogging, e-mailing, posting information on a website or chat room, or any other means

at all. Do not send or accept messages, including email and text messages, about your

jury service. You must not disclose your thoughts about your jury service or ask for

advice on how to decide any case.

       You must decide the facts based on the evidence presented in court and according

to the legal principles about which I will instruct you. You are not permitted, during the

course of the trial, to conduct any independent investigation or research about the case.

That means, for example, you cannot use the Internet to do research about the facts or the

law or the people involved in the case. Research includes something even as simple or

seemingly harmless as using the Internet to look up a legal term or view a satellite photo

of the scene of the alleged crime.




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       I want to explain the reasons why you should not conduct your own investigation.

All parties have a right to have the case decided only on evidence and legal rules that

they know about and that they have a chance to respond to. Relying on information you

get outside this courtroom is unfair because the parties would not have a chance to refute,

correct, or explain it. Unfortunately, information that we get over the Internet or from

other sources may be incomplete or misleading or just plain wrong. It is up to you to

decide whether to credit any evidence presented in court and only the evidence presented

in court may be considered. If evidence or legal information has not been presented in

court, you cannot rely on it.

       Moreover, if any of you do your own research about the facts or the law, this may

result in different jurors basing their decisions on different information. Each juror must

make his or her decision based on the same evidence and under the same rules.

       In some cases, there may be reports in the newspaper or on the radio, Internet, or

television concerning the case while the trial is ongoing. If there should be such media

coverage in this case, you may be tempted to read, listen to, or watch it. You must not

read, listen to, or watch such reports because you must decide this case solely on the

evidence presented in this courtroom. If any publicity about this trial inadvertently comes

to your attention during trial, do not discuss it with other jurors or anyone else. Just let

me or my clerk know as soon after it happens as you can, and I will then briefly discuss it

with you.

       After I submit the case to you, you may discuss it only when I instruct you to do

so, and only in the jury room and only in the presence of all your fellow jurors. It is


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important that you keep an open mind and not decide any issue in the case until after I

submit the entire case to you with my final instructions.


See Redbook 1.102.




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                                         2.100
                   Furnishing the Jury with a Copy of the Instructions

       I will provide you with a copy of my instructions. During your deliberations, you

may, if you want, refer to these instructions. While you may refer to any particular

portion of the instructions, you are to consider the instructions as a whole and you may

not follow some and ignore others. If you have any questions about the instructions, you

should feel free to send me a note. Please return your instructions to me when your

verdict is rendered.




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                                            2.101
                                     Function of the Court

       My function is to conduct this trial in an orderly, fair, and efficient manner; to rule

on questions of law; and to instruct you on the law that applies in this case.

       It is your duty to accept the law as I instruct you. You should consider all the

instructions as a whole. You may not ignore or refuse to follow any of them.




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                                            2.102
                                     Function of the Jury

       Your function, as the jury, is to determine what the facts are in this case. You are

the sole judges of the facts. While it is my responsibility to decide what is admitted as

evidence during the trial, you alone decide what weight, if any, to give to that evidence.

You alone decide the credibility or believability of the witnesses.

       As human beings, we all have personal likes and dislikes, opinions, prejudices,

and biases. Generally, we are aware of these things, but you also should consider the

possibility that you have implicit biases, that is, biases of which you may not be

consciously aware. Personal prejudices, preferences, or biases have no place in a

courtroom, where our goal is to arrive at a just and impartial verdict. All people deserve

fair treatment in our system of justice regardless of any personal characteristic, such as

race, national or ethnic origin, religion, age, disability, sex, gender identity or expression,

sexual orientation, education, or income level. You should determine the facts solely

from a fair consideration of the evidence. You should decide the case without prejudice,

fear, sympathy, favoritism or consideration of public opinion.

       You may not take anything I may have said or done as indicating how I think you

should decide this case. If you believe that I have expressed or indicated any such

opinion, you should ignore it. The verdict in this case is your sole and exclusive

responsibility.




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                                            2.103
                                     Function of the Jury

       If any reference by me or the attorneys to the evidence is different from your own

memory of the evidence, it is your memory that should control during your deliberations.




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                                         2.104
                   Evidence in the Case—Judicial Notice & Stipulations

       During your deliberations, you may consider only the evidence properly admitted

in this trial. The evidence in this case consists of the sworn testimony of the witnesses,

the exhibits that were admitted into evidence, the facts of which I took judicial notice,

and the facts and testimony stipulated to by the parties.

       I may take what is called “judicial notice” of public acts, places, facts, and events

that I consider to be matters of common knowledge or matters that can be determined

easily through undisputed sources. In this case, I took judicial notice of [describe fact of

which the court took judicial notice]. When I take judicial notice of a particular fact, you

may regard that fact as proven evidence.

       During the trial, you were told that the parties had stipulated—that is, agreed—to

certain facts. You should consider any stipulation of fact to be undisputed evidence.

       When you consider the evidence, you are permitted to draw, from the facts that

you find have been proven, such reasonable inferences as you feel are justified in the

light of your experience. You should give any evidence such weight as in your judgment

it is fairly entitled to receive.




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                                            2.105
                                     Statements of Counsel

       The statements and arguments of the lawyers are not evidence. They are only

intended to assist you in understanding the evidence. Similarly, the questions of the

lawyers are not evidence.




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                                              2.106
                                     Indictment Not Evidence

       The indictment is merely the formal way of accusing a person of a crime. You

must not consider the indictment as evidence of any kind—you may not consider it as

any evidence of Kyle Fitzsimons’ guilt or draw any inference of guilt from it.




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                                        2.107
                       Burden of Proof—Presumption of Innocence

       Every defendant in a criminal case is presumed to be innocent. This presumption

of innocence remains with the defendant throughout the trial unless and until the

government has proven he is guilty beyond a reasonable doubt. This burden never shifts

throughout the trial. The law does not require Kyle Fitzsimons to prove his innocence or

to produce any evidence at all. If you find that the government has proven beyond a

reasonable doubt every element of a particular offense with which Kyle Fitzsimons is

charged, it is your duty to find him guilty of that offense. On the other hand, if you find

the government has failed to prove any element of a particular offense beyond a

reasonable doubt, it is your duty to find Kyle Fitzsimons not guilty of that offense.




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                                          2.108
                                     Reasonable Doubt

         The government has the burden of proving Kyle Fitzsimons guilty beyond a

reasonable doubt. In civil cases, it is only necessary to prove that a fact is more likely true

than not, or, in some cases, that its truth is highly probable. In criminal cases such as this

one, the government’s proof must be more powerful than that. It must be beyond a

reasonable doubt. Reasonable doubt, as the name implies, is a doubt based on reason—a

doubt for which you have a reason based upon the evidence or lack of evidence in the

case. If, after careful, honest, and impartial consideration of all the evidence, you cannot

say that you are firmly convinced of the defendant’s guilt, then you have a reasonable

doubt.

         Reasonable doubt is the kind of doubt that would cause a reasonable person, after

careful and thoughtful reflection, to hesitate to act in the graver or more important

matters in life. However, it is not an imaginary doubt, nor a doubt based on speculation or

guesswork; it is a doubt based on reason. The government is not required to prove guilt

beyond all doubt, or to a mathematical or scientific certainty. Its burden is to prove guilt

beyond a reasonable doubt.




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                                           2.109
                            Direct and Circumstantial Evidence

       There are two types of evidence from which you may determine what the facts are

in this case—direct evidence and circumstantial evidence. When a witness, such as an

eyewitness, asserts actual knowledge of a fact, that witness’s testimony is direct

evidence. On the other hand, evidence of facts and circumstances from which reasonable

inferences may be drawn is circumstantial evidence.

       Let me give you an example. Assume a person looked out a window and saw that

snow was falling. If he later testified in court about what he had seen, his testimony

would be direct evidence that snow was falling at the time he saw it happen. Assume,

however, that he looked out a window and saw no snow on the ground, and then went to

sleep and saw snow on the ground after he woke up. His testimony about what he had

seen would be circumstantial evidence that it had snowed while he was asleep.

       The law says that both direct and circumstantial evidence are acceptable as a

means of proving a fact. The law does not favor one form of evidence over another. It is

for you to decide how much weight to give to any particular evidence, whether it is direct

or circumstantial. You are permitted to give equal weight to both. Circumstantial

evidence does not require a greater degree of certainty than direct evidence. In reaching a

verdict in this case, you should consider all of the evidence presented, both direct and

circumstantial.




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                                         2.110
                         Nature of Charges Not to Be Considered

       One of the questions you were asked when we were selecting this jury was

whether the nature of the charges itself would affect your ability to reach a fair and

impartial verdict. We asked you that question because you must not allow the nature of a

charge to affect your verdict. You must consider only the evidence that has been

presented in this case in reaching a fair and impartial verdict.




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                                           2.112
                            Inadmissible and Stricken Evidence

       The lawyers in this case sometimes objected when the other side asked a question,

made an argument, or offered evidence that the objecting lawyer believed was not proper.

You must not hold such objections against the lawyer who made them or the party he or

she represents. It is the lawyers’ responsibility to object to evidence that they believe is

not admissible.

       If, during the course of the trial, I sustained an objection to a lawyer’s question,

you should ignore the question, and you must not speculate as to what the answer would

have been. If, after a witness answered a question, I ruled that the answer should be

stricken, you should ignore both the question and the answer and they should play no part

in your deliberations. Likewise, exhibits as to which I have sustained an objection or that

I ordered stricken are not evidence, and you must not consider them in your deliberations.




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                                              2.200
                                     Credibility of Witnesses

       In determining whether the government has proved the charges against the

defendant beyond a reasonable doubt, you must consider the testimony of all the

witnesses who have testified.

       You are the sole judges of the credibility of the witnesses. You alone determine

whether to believe any witness and the extent to which a witness should be believed.

Judging a witness’s credibility means evaluating whether the witness has testified

truthfully and also whether the witness accurately observed, recalled, and described the

matters about which the witness testified.

       You may consider anything that in your judgment affects the credibility of any

witness. For example, you may consider the demeanor and the behavior of the witness on

the witness stand; the witness’s manner of testifying; whether the witness impresses you

as a truthful person; whether the witness impresses you as having an accurate memory;

whether the witness has any reason for not telling the truth; whether the witness had a

meaningful opportunity to observe the matters about which he or she has testified;

whether the witness has any interest in the outcome of this case, stands to gain anything

by testifying, or has friendship or hostility toward other people concerned with this case.

       In evaluating the accuracy of a witness’s memory, you may consider the

circumstances surrounding the event, including the time that elapsed between the event

and any later recollections of the event, and the circumstances under which the witness

was asked to recall details of the event.



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       You may consider whether there are any consistencies or inconsistencies in a

witness’s testimony or between the witness’s testimony and any previous statements

made by the witness. You may also consider any consistencies or inconsistencies

between the witness’s testimony and any other evidence that you credit. You may

consider whether any inconsistencies are the result of lapses in memory, mistake,

misunderstanding, intentional falsehood, or differences in perception.

       You may consider the reasonableness or unreasonableness, the probability or

improbability, of the testimony of a witness in determining whether to accept it as true

and accurate. You may consider whether the witness has been contradicted or supported

by other evidence that you credit.

       If you believe that any witness has shown him or herself to be biased or

prejudiced, for or against either side in this trial, or motivated by self-interest, you may

consider and determine whether such bias or prejudice has colored the testimony of the

witness so as to affect the desire and capability of that witness to tell the truth.

       You should give the testimony of each witness such weight as in your judgment it

is fairly entitled to receive.




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                                                2.207
                                     Police Officer’s Testimony

       A police officer’s testimony should be evaluated by you just as any other evidence

in the case. In evaluating the officer’s credibility, you should use the same guidelines that

you apply to the testimony of any witness. In no event should you give either greater or

lesser weight to the testimony of any witness merely because he or she is a police officer.




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                                            2.208
                              Right of Defendant Not to Testify

       Every defendant in a criminal case has an absolute right not to testify. Kyle

Fitzsimons has chosen to exercise this right. You must not hold this decision against him,

and it would be improper for you to speculate as to the reason or reasons for his decision.

You must not assume the defendant is guilty because he chose not to testify.




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                                            2.209
                                     Defendant as Witness

       A defendant has a right to become a witness in his own behalf. His testimony

should not be disbelieved merely because he is the defendant. In evaluating his

testimony, however, you may consider the fact that the defendant has a vital interest in

the outcome of this trial. As with the testimony of any other witness, you should give the

defendant’s testimony as much weight as in your judgment it deserves.




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                                               2.310
                                     Transcripts of Recordings

       Recordings of conversations identified by witnesses have been received in

evidence. Transcripts of these recorded conversations are being furnished for your

convenience and guidance as you listen to the recordings to clarify portions of the

recordings which are difficult to hear and to help you identify speakers. The recordings,

however, are the evidence in the case; the transcripts are not. If you notice any difference

between the transcripts and the recordings, you must rely only on the recordings and not

the transcripts. In addition, if you cannot determine from the recording that particular

words were spoken, you must disregard the transcripts as far as those words are

concerned.



See Redbook 2.310.




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                                          2.402
                             Multiple Counts—One Defendant

       Each count of the indictment charges a separate offense. You should consider each

offense, and the evidence which applies to it, separately, and you should return separate

verdicts as to each count. The fact that you may find the defendant guilty or not guilty on

any one count of the indictment should not influence your verdict with respect to any

other count of the indictment.




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                                          2.405
                                        Unanimity

       A verdict must represent the considered judgment of each juror, and in order to

return a verdict, each juror must agree on the verdict. In other words, your verdict on

each count must be unanimous.




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                                           Count One
                                         Civil Disorder
                               (Violation of 18 U.S.C. § 231(a)(3))

       Count One of the indictment charge the defendant with committing or attempting

to commit an act to obstruct, impede, or interfere with law enforcement officers lawfully

carrying out their official duties incident to a civil disorder, which is a violation of federal

law.

       Elements

       In order to find the defendant guilty of this offense, you must find the following

three elements beyond a reasonable doubt:

       First:      the defendant knowingly committed an act or attempted to commit an
                   act with the intended purpose of obstructing, impeding, or interfering
                   with one or more law enforcement officers.

       Second:     at the time of the defendant’s actual or attempted act, the law
                   enforcement officer or officers were engaged in the lawful performance
                   of their official duties incident to and during a civil disorder.

       Third:      the civil disorder in any way or degree obstructed, delayed, or adversely
                   affected either commerce or the movement of any article or commodity
                   in commerce or the conduct or performance of any federally protected
                   function.

       Definitions

       A person acts “knowingly” if he realizes what he is doing and is aware of the

nature of his conduct, and does not act through ignorance, mistake, or accident. In




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deciding whether the defendant acted knowingly, you may consider all of the evidence,

including what the defendant did or said.

       The term “civil disorder” means any public disturbance involving acts of violence

by groups of three or more persons, which (a) causes an immediate danger of injury to

another individual, (b) causes an immediate danger of damage to another individual’s

property, (c) results in injury to another individual, or (d) results in damage to another

individual’s property.

       The term “commerce” means commerce or travel between one state, including the

District of Columbia, and any other state, including the District of Columbia. It also

means commerce wholly within the District of Columbia.

       The term “federally protected function” means any function, operation, or action

carried out, under the laws of the United States, by any department, agency, or

instrumentality of the United States or by an officer or employee thereof.

       The term “department” includes executive departments. The Department of

Homeland Security, which includes the United States Secret Service, is an executive

department.

       The term “agency” includes any department, independent establishment,

commission, administration, authority, board, or bureau of the United States.

For the U.S. Capitol Police and Metropolitan Police Departments, the term “official

duties,” means policing the U.S. Capitol Building and Grounds, and enforcing federal law

and D.C. law in those areas.




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       Attempt

       In Count One, the defendant is also charged with attempt to commit the crime of

civil disorder. An attempt to commit civil disorder is a crime even if the defendant did

not actually complete the crime of civil disorder.

       In order to find the defendant guilty of attempt to commit civil disorder, you must

find that the government proved beyond a reasonable doubt each of the following two

elements:

       First:      that the defendant intended to commit the crime of civil disorder, as I
                   have defined that offense above.

       Second:     that the defendant took a substantial step toward committing civil
                   disorder which strongly corroborates or confirms that the defendant
                   intended to commit that crime.

       With respect to the first element of attempt, you may not find the defendant guilty

of attempt to commit civil disorder merely because he thought about it. You must find

that the evidence proved beyond a reasonable doubt that the defendant’s mental state

passed beyond the stage of thinking about the crime to actually intending to commit it.

With respect to the substantial step element, you may not find the defendant guilty of

attempt to commit civil disorder merely because he made some plans to or some

preparation for committing that crime. Instead, you must find that the defendant took

some firm, clear, undeniable action to accomplish his intent to commit civil disorder.

However, the substantial step element does not require the government to prove that the

defendant did everything except the last act necessary to complete the crime



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(18 U.S.C. § 231(a)(3); United States v. Pugh, 20-cr-73 (S.D. Ala. May 19, 2021); United
States v. Rupert, No. 20-cr-104 (D. Minn. Mar. 12, 2021) (ECF No. 81)).




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                                      Count Two
            Obstruction of an Official Proceeding and Aiding and Abetting
                     (Violation of 18 U.S.C. §§ 1512(c)(2) and 2)

       Count Two of the indictment charges the defendant with corruptly obstructing an

official proceeding, which is a violation of the law. Count Two also charges the

defendant with attempt to obstruct or impede an official proceeding and aiding and

abetting others to commit that offense. The Court will first explain the elements of the

substantive offense, along with its associated definitions. The same definition of attempt

that applies to Count One here. The Court will then explain how to determine whether

the defendant aided or abetted the offense.

       Elements

       In order to find the defendant guilty of corruptly obstructing an official

proceeding, you must find that the government proved each of the following four

elements beyond a reasonable doubt:

       First:      the defendant attempted to or did obstruct or impede an official
                   proceeding.

       Second:     the defendant intended to obstruct or impede the official proceeding.

       Third:      the defendant acted knowingly, with awareness that the natural and
                   probable effect of his conduct would be to obstruct or impede the
                   official proceeding.

       Fourth:     the defendant acted corruptly.




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       Definitions

       The term “official proceeding” includes a proceeding before the Congress. The

official proceeding need not be pending or about to be instituted at the time of the

offense. If the official proceeding was not pending or about to be instituted, the

government must prove beyond a reasonable doubt that the official proceeding was

reasonably foreseeable to the defendant. As used in Count Three, the term “official

proceeding” means Congress’s Joint Session to certify the Electoral College vote.

       The term “knowingly” has the same meaning described in the instructions for

Counts One and Two.

       To act “corruptly,” the defendant must use unlawful means or have a wrongful or

an unlawful purpose, or both. The defendant must also act with “consciousness of

wrongdoing.” “Consciousness of wrongdoing” means with an understanding or

awareness that what the person is doing is wrong or unlawful.

       Not all attempts to obstruct or impede an official proceeding involve acting

corruptly. For example, a witness in a court proceeding may refuse to testify by invoking

his constitutional privilege against self-incrimination, thereby obstructing or impeding the

proceeding, but he does not act corruptly. In contrast, an individual who obstructs or

impedes a court proceeding by bribing a witness to refuse to testify in that proceeding, or

by engaging in other independently unlawful conduct, does act corruptly.

       Aiding and Abetting

       You may find Kyle Fitzsimons guilty of Count Two without finding that he

personally committed each of the acts that make up the crime or that he was present while


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the crime was being committed. Any person who in some way intentionally participates

in the commission of a crime can be found guilty either as an aider and abettor or as a

principal offender. It makes no difference which label you attach. The person is as guilty

of the crime as he would be if he had personally committed each of the acts that make up

the crime.

       To find that a defendant aided and abetted in committing a crime, you must find

that the defendant knowingly associated himself with the commission of the crime, that

he participated in the crime as something he wished to bring about, and that he intended

by his actions to make it succeed.

       Some affirmative conduct by the defendant in planning or carrying out the crime is

necessary. Mere physical presence by Kyle Fitzsimons at the place and time the crime is

committed is not by itself sufficient to establish his guilt. However, mere physical

presence is enough if it is intended to help in the commission of the crime.

       The government is not required to prove that anyone discussed or agreed upon a

specific time or method of committing the crime. The government is not required to

prove that the crime was committed in the particular way planned or agreed upon. Nor

need the government prove that the principal offender and the person alleged to be the

aider and abettor directly communicated with each other.

       With respect to the charge of Obstruction of an Official Proceeding in Count Two,

regardless of whether Kyle Fitzsimons is an aider and abettor or a principal offender, the

government must prove beyond a reasonable doubt that Kyle Fitzsimons personally acted

knowingly and corruptly.


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       It is not necessary that all the people who committed the crime be caught or

identified. It is sufficient if you find beyond a reasonable doubt that the crime was

committed by someone and that the defendant knowingly and intentionally aided and

abetted in committing the crime.




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                                Counts Three through Six
                     Assault, Resisting, or Impeding Certain Officers
                       (Violations of 18 U.S.C. § 111(a)(1) and (b))

       In Counts Three through Six, the defendant is charged with forcibly assaulting,

resisting, opposing, impeding, intimidating, or interfering with a federal officer while the

officer is engaged in the performance of his or her official duties, which is a violation of

federal law. Count Three relates to Officer S.B., an officer from the Metropolitan Police

Department. Count Four relates to Detective P.N., an officer from the Metropolitan Police

Department. Count Five relates to Sergeant A.G., an officer from the United States

Capitol Police. Count Six relates to officers from the United States Capitol Police and

Metropolitan Police Department.

       Elements

       To find the defendant guilty of these crimes, you must be convinced that the

government has proved each of the following beyond a reasonable doubt:

       First:      the defendant assaulted, resisted, opposed, impeded, intimidated, or
                   interfered with the officer or officers described in the indictment.

       Second:     the defendant did such act forcibly.

       Third:      the defendant did such act intentionally.

       Fourth:     the person assaulted, resisted, opposed, impeded, intimidated, or
                   interfered with was an officer or an employee of the United States who
                   was then engaged in the performance of his official duties, or any
                   person assisting such an officer or employee in the performance of that
                   officer’s duties.



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       Fifth:      the defendant made physical contact with the federal officer or acted
                   with the intent to commit another felony.

       For Count Three, you will also be asked if the government proved beyond a

reasonable doubt that the defendant intentionally used deadly or dangerous weapon.

       For Counts Four and Five, you will also be asked if the government proved

beyond a reasonable doubt that the defendant inflicted bodily injury.

       Definitions

       Before you can find the defendant guilty you must find, beyond a reasonable

doubt, that he acted forcibly. The defendant acted forcibly if he used force, attempted to

use force, or threatened to use force against the federal officer. A threat to use force at

some unspecified time in the future is not sufficient to establish that the defendant acted

forcibly.

       The term “assault” means any intentional attempt or threat to inflict injury upon

someone else, when coupled with an apparent present ability to do so. A finding that one

used force (or attempted or threatened to use it) is not the same as a finding that he

attempted or threatened to inflict injury. In order to find that the defendant committed an

“assault,” you must find beyond a reasonable doubt that the defendant acted forcibly and

that the defendant intended to inflict or intended to threaten injury.

       The terms “resist,” “oppose,” “impede,” “intimidate,” and “interfere with” carry

their everyday, ordinary meanings.

       The term “bodily injury” means an injury that is painful and obvious, or is of a

type for which medical attention ordinarily would be sought.


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       The term “deadly or dangerous weapon” means any object which, as used or

attempted to be used, may endanger the life of or inflict great bodily harm on a person.

       You are instructed that Officer S.B., Detective P.N., and Sergeant A.G. are federal

officers, and that it was a part of the official duty of such officers to protect the U.S.

Capitol complex on January 6, 2021, and to detain individuals who lacked authorization

to enter the restricted area around the complex.

       It is not necessary to show that the defendant knew the person being forcibly

assaulted, resisted, opposed, impeded, intimidated, or interfered with was, at that time, a

federal officer carrying out an official duty so long as it is established beyond a

reasonable doubt that the victim was, in fact, a federal officer acting in the course of his

duty and that the defendant intentionally forcibly assaulted, resisted, opposed, impeded,

intimidated, or interfered with that officer.



(2 O’Malley, Grenig, and Lee, Federal Jury Practice and Instructions § 24:03 (6th ed.);
United States v. Feola, 420 U.S. 671, 684 (1975); United States v. Arrington, 309 F.3d 40,
44-45 (D.C. Cir. 2002)).




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                                               9.510
                                     Defense of a Third Person

       Every person has the right to use a reasonable amount of force in defense of

another person if (1) he actually believes that the other person is in imminent danger of

bodily harm and if (2) he has reasonable grounds for that belief. The question is not

whether looking back on the incident you believe that the use of force was necessary.

The question is whether Mr. Fitzsimons, under the circumstances as they appeared to him

at the time of the incident, actually believed that the person he was seeking to defend was

in imminent danger of bodily harm, and could reasonably hold that belief. Defense of

another person may be a defense to the charges of forcibly assaulting, resisting, opposing,

impeding, intimidating, or interfering with a federal officer in violation of 18 U.S.C.

§ 111(a)(1) and (b).

       A person may use a reasonable amount of force in defense of another person,

including, in some circumstances, deadly force. “Deadly force” is force which is likely

to cause death or serious bodily harm. A person may use deadly force in defense of

another person if he actually believes at the time of the incident that person is in

imminent danger of death or serious bodily harm from which he can save that person

only by using deadly force against the assailant, and if his belief is reasonable.

       Even if Mr. Fitzsimons was justified in using force in defense of another person,

he would not be entitled to use any greater force than he had reasonable grounds to

believe and actually did believe to be necessary under the circumstances to save the other

person’s life or avert serious bodily harm.



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       In deciding whether Mr. Fitzsimons used excessive force in defending another

person you may consider all the circumstances under which he acted. A person acting in

the heat of passion caused by an assault does not necessarily lose his claim of defense of

a third person by using greater force than would seem necessary to a calm mind. In the

heat of passion, a person may actually and reasonably believe something that seems

unreasonable to a calm mind.

       Mr. Fitzsimons is not required to prove that he acted in the defense of another

person. If evidence of defense of another person is present, the government must prove

beyond a reasonable doubt that Mr. Fitzsimons did not act in the defense of another

person. On the other hand, if the government has proved beyond a reasonable doubt that

Mr. Fitzsimons did not act in defense of another person, along with each other element of

the offense, then you must find him guilty of the offenses of forcibly assaulting, resisting,

opposing, impeding, intimidating, or interfering with a federal officer.



                                     Government’s Objection

        The government objects to this proposed instruction because the defendant was the
initial aggressor, and thus will not be entitled to the instruction. Cf. Waters v. Lockett,
896 F.3d 559, 569 (D.C. Cir. 2018) (“[A] defendant cannot claim self-defense if he was
the aggressor or if he provoked the conflict upon himself.”); United States v. Mumuni
Saleh, 946 F.3d 97, 110 (2d Cir. 2019) (“Mumuni was the initial aggressor in the
altercation with Agent Coughlin; as such, he could not, as a matter of law, have been
acting in self-defense”); United States v. Acosta-Sierra, 690 F.3d 1111, 1126 (9th Cir.
2012) (“[A]n individual who is the attacker cannot make out a claim of self-defense as a
justification for an assault.”).




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                                       Count Seven
               Entering and Remaining in a Restricted Building or Grounds
                           (Violation of 18 U.S.C. § 1752(a)(1))

         Count Seven of the Indictment charges the defendant with entering or remaining in

a restricted building or grounds, which is a violation of federal law.

         Elements

         In order to find the defendant guilty of this offense, you must find that the

government proved each of the following elements beyond a reasonable doubt:

         First:     that the defendant entered or remained in a restricted building or
                    grounds without lawful authority to do so.

         Second:    that the defendant did so knowingly.

         Definitions

         The term “restricted building or grounds” means any posted, cordoned off, or

otherwise restricted area of a building or grounds where a person protected by the Secret

Service is or will be temporarily visiting. 3

         The term “person protected by the Secret Service” includes the Vice President and

the immediate family of the Vice President. 4

         The term “knowingly” has the same meaning described in the instructions for

Count One.




3
    18 U.S.C. § 1752(c)(1).
4
    18 U.S.C. §§ 1752(c)(2), 3056.

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                                       Count Eight
                 Disorderly Conduct in a Restricted Building or Grounds
                           (Violation of 18 U.S.C. § 1752(a)(2))

       Count Eight of the indictment charges the defendant with disorderly or disruptive

conduct in a restricted building or grounds, which is a violation of federal law.

       Elements

       In order to find the defendant guilty of this offense, you must find that the

government proved each of the following elements beyond a reasonable doubt:

       First:      that the defendant engaged in disorderly or disruptive conduct in, or in
                   proximity to, any restricted building or grounds.

       Second:     that the defendant did so knowingly, and with the intent to impede or
                   disrupt the orderly conduct of Government business or official
                   functions.

       Third:      that the defendant’s conduct occurred when, or so that, his conduct in
                   fact impeded or disrupted the orderly conduct of Government business
                   or official functions.

       Definitions

       “Disorderly conduct” occurs when a person is unreasonably loud and disruptive

under the circumstances, or interferes with another person by jostling against or

unnecessarily crowding that person. “Disruptive conduct” is a disturbance that interrupts

an event, activity, or the normal course of a process.

       The term “knowingly” has the same meaning described in the instructions for

Count One.



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       The term “restricted building or grounds” has the same meanings as described in

the instructions for Count Seven.




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                                     Count Nine
          Engaging in Physical Violence in a Restricted Building or Grounds
                        (Violation of 18 U.S.C. § 1752(a)(4))

       Count Nine of the indictment charges the defendant with engaging in an act of

physical violence in a restricted building or grounds, which is a violation of federal law.

       Elements

       In order to find the defendant guilty of this offense, you must find that the

government proved each of the following elements beyond a reasonable doubt:

       First:      that the defendant engaged in any act of physical violence against any
                   person in any restricted building or grounds.

       Second:     that the defendant did so knowingly.

       Definitions

       The term “knowingly” has the same meaning described in the instructions for

Count One.

       The term “restricted building or grounds” has the same meanings as described in

the instructions for Count Seven.




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                                                Count Ten
                                Disorderly Conduct in a Capitol Building
                                 (Violation of 40 U.S.C. § 5104(e)(2)(D))

           Count Ten of the Indictment charges the defendant with disorderly conduct in a

Capitol Building or Grounds, which is a violation of federal law.

           Elements

           In order to find the defendant guilty of this offense, you must find that the

government proved each of the following elements beyond a reasonable doubt:

           First:          that the defendant engaged in disorderly or disruptive conduct in any of
                           the United States Capitol Buildings or Grounds.

           Second:         that the defendant did so with the intent to impede, disrupt, or disturb
                           the orderly conduct of a session of Congress or either House of
                           Congress.

           Third:          that the defendant acted willfully and knowingly.

           Definitions

           The term “United States Capitol Buildings or Grounds” includes the United States

Capitol located at First Street, Southeast, in Washington, D.C. and its grounds, which

includes all squares, reservations, streets, roadways, walks, and other areas as defined on

a map entitled “Map showing areas comprising United States Capitol Grounds,” dated

June 25, 1946, approved by the Architect of the Capitol, and recorded in the Office of the

Surveyor of the District of Columba in book 127, page 8. 5 You are instructed that the




5
    40 U.S.C. § 5102(a).


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West Front of the United States Capitol, including the Lower West Terrace, is part of the

“United States Capitol Building or Grounds” for purposes of this count.

       The term “disorderly or disruptive conduct” has the same meaning described in the

instructions for Count Eight defining “disorderly conduct” and “disruptive conduct.”

       The term “knowingly” has the same meaning described in the instructions for

Count One.

       A person acts “willfully” if he acts with the intent to do something that the law

forbids, that is, to disobey or disregard the law. “Willfully” does not, however, require

proof that the defendant be aware of the specific law or rule that his conduct may be

violating.




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                                       Count Eleven
                Act of Physical Violence in the Capitol Grounds or Building
                          (Violation of 40 U.S.C. § 5104(e)(2)(F))

       Count Eleven of the Indictment charges the defendant with engaging in an act of

physical violence in the Capitol Building or Grounds, which is a violation of federal law.

       Elements

       In order to find the defendant guilty of this offense, you must find that the

government proved each of the following elements beyond a reasonable doubt:

       First:      that the defendant engaged in any act of physical violence in any of the
                   United States Capitol Buildings or Grounds.

       Second:     that the defendant acted willfully and knowingly.

       Definitions

       The term “knowingly” has the same meaning described in the instructions for

Count One.

       The term “willfully” has the same meaning described in the instructions for Count

Ten.

       The term “act of physical violence means any act involving an assault or other

infliction or threat of infliction of death or bodily harm on an individual; or damage to, or

destruction of, real or personal property.

       The term “United States Capitol Buildings or Grounds” has the same meaning as

described in Count Ten.




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                                               2.407
                                     Verdict Form Explanation

       You will be provided with a Verdict Form for use when you have concluded your

deliberations. The form is not evidence in this case, and nothing in it should be taken to

suggest or convey any opinion by me as to what the verdict should be. Nothing in the

form replaces the instructions of law I have already given you, and nothing in it replaces

or modifies the instructions about the elements which the government must prove beyond

a reasonable doubt. The form is meant only to assist you in recording your verdict.




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                                          2.500
                                     Redacted Exhibits

       During the course of this trial, a number of exhibits were admitted in evidence.

Sometimes only portions of an exhibit were admitted, such as portions of a longer video,

a document with some words or pictures blacked out or otherwise removed, or a video

played without audio. There are a variety of reasons why only a portion of an exhibit is

admitted, including that the other portions are inadmissible or implicate an individual’s

privacy. As you examine the exhibits, and you see or hear portions where there appear to

be omissions, you should consider only the portions that were admitted. You should not

guess as to what has been taken out or why, and you should not hold it against either

party. You are to decide the facts only from the evidence that is before you.




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                                           2.501
                                Exhibits During Deliberations

       I will be sending into the jury room with you the exhibits that have been admitted

into evidence. You may examine any or all of them as you consider your verdict. Please

keep in mind that exhibits that were only marked for identification but were not admitted

into evidence will not be given to you to examine or consider in reaching your verdict.

       You will also be provided with a laptop to view the recordings which I have

admitted into evidence. You should not use the laptop for any other purpose.




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                                              2.502
                                     Selection of Foreperson

       When you return to the jury room, you should first select a foreperson to preside

over your deliberations and to be your spokesperson here in court. There are no specific

rules regarding how you should select a foreperson. That is up to you. However, as you

go about the task, be mindful of your mission—to reach a fair and just verdict based on

the evidence. Consider selecting a foreperson who will be able to facilitate your

discussions, who can help you organize the evidence, who will encourage civility and

mutual respect among all of you, who will invite each juror to speak up regarding his or

her views about the evidence, and who will promote a full and fair consideration of that

evidence.




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                                           2.505
                             Possible Punishment Not Relevant

       The question of possible punishment of the defendant in the event of a conviction

is not a concern of yours and should not enter into or influence your deliberations in any

way. The duty of imposing sentence in the event of a conviction rests exclusively with

me. Your verdict should be based solely on the evidence in this case, and you should not

consider the matter of punishment at all.




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                                       2.508
         Cautionary Instruction on Publicity, Communication, and Research

       I would like to remind you that, in some cases, although not necessarily this one,

there may be reports in the newspaper or on the radio, internet, or television concerning

this case. If there should be such media coverage in this case, you may be tempted to

read, listen to, or watch it. You must not read, listen to, or watch such reports because

you must decide this case solely on the evidence presented in this courtroom. If any

publicity about this trial inadvertently comes to your attention, do not discuss it with

other jurors or anyone else. Just let me or my clerk know as soon after it happens as you

can, and I will then briefly discuss it with you.

       As you retire to the jury room to deliberate, I also wish to remind you of an

instruction I gave you at the beginning of the trial. During deliberations, you may not

communicate with anyone not on the jury about this case. This includes any electronic

communication such as email or text or any blogging about the case. In addition, you

may not conduct any independent investigation during deliberations. This means you may

not conduct any research in person or electronically via the internet or in another way.




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                                    2.509
        Communication Between Court and Jury During Jury’s Deliberations

       If it becomes necessary during your deliberations to communicate with me, you

may send a note by the clerk or marshal, signed by your foreperson or by one or more

members of the jury. No member of the jury should try to communicate with me except

by such a signed note, and I will never communicate with any member of the jury on any

matter concerning the merits of this case, except in writing or orally here in open court.

       Bear in mind also that you are never, under any circumstances, to reveal to any

person—not the clerk, the marshal or me—how jurors are voting until after you have

reached a unanimous verdict. This means that you should never tell me, in writing or in

open court, how the jury is divided on any matter—for example, 6-6 or 7-5 or 11-1, or in

any other fashion—whether the vote is for conviction or acquittal or on any other issue in

the case.




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                                    2.510
        Communication Between Court and Jury During Jury’s Deliberations

       The attitude and conduct of jurors at the beginning of their deliberations are

matters of considerable importance. It may not be useful for a juror, upon entering the

jury room, to voice a strong expression of an opinion on the case or to announce a

determination to stand for a certain verdict. When one does that at the outset, a sense of

pride may cause that juror to hesitate to back away from an announced position after a

discussion of the case. Furthermore, many juries find it useful to avoid an initial vote

upon retiring to the jury room. Calmly reviewing and discussing the case at the beginning

of deliberations is often a more useful way to proceed. Remember that you are not

partisans or advocates in this matter, but you are judges of the facts.




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                                               2.511
                                     Excusing Alternate Jurors

       The last thing I must do before you begin your deliberations is to excuse the

alternate jurors. As I told you before, the selection of alternates was an entirely random

process; it’s nothing personal. We selected four seats to be the alternate seats before any

of you entered the courtroom. Since the rest of you have remained healthy and attentive, I

can now excuse those jurors in seats [insert seat numbers].

       Before you four leave, I am going to ask you to tear out a page from your

notebook, and to write down your name and daytime phone number and hand this to the

clerk. I do this because it is possible, though unlikely, that we will need to summon you

back to rejoin the jury in case something happens to a regular juror. Since that possibility

exists, I am also going to instruct you not to discuss the case with anyone until we call

you. My earlier instruction on use of the Internet still applies; do not research this case or

communicate about it on the Internet. In all likelihood, we will be calling you to tell you

there has been a verdict and you are now free to discuss the case; there is, however, the

small chance that we will need to bring you back on to the jury. Thank you very much for

your service, and please report back to the jury office to turn in your badge on your way

out.




       .




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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

 v.                                              No. 1:21-cr-158 (RC)

 KYLE FITZSIMONS

                                VERDICT OF THE JURY

       We, the members of the jury, find defendant Kyle Fitzsimons:


                                  of the offense charged in Count 1 of the Indictment
“Guilty” or “Not Guilty”          (Civil Disorder)


                                  of the offense charged in Count 2 of the Indictment
“Guilty” or “Not Guilty”          (Obstruction of an Official Proceeding and Aiding
                                  and Abetting)


                                  of the offense charged in Count 3 of the Indictment
“Guilty” or “Not Guilty”          (Assaulting, Resisting, or Impeding Officer S.B.)


                                  If you find the defendant guilty of Count 3, did the
“Yes” or “No”                     defendant intentionally use a deadly or dangerous
                                  weapon?


                                  of the offense charged in Count 4 of the Indictment
“Guilty” or “Not Guilty”          (Assaulting, Resisting, or Impeding Detective P.N.)


                                  If you find the defendant guilty of Count 4, did the
“Yes” or “No”                     defendant cause bodily injury to Detective P.N.?


                                  of the offense charged in Count 5 of the Indictment
“Guilty” or “Not Guilty”          (Assaulting, Resisting, or Impeding Sergeant A.G.)



Verdict of the Jury—Page 1
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                                If you find the defendant guilty of Count 5, did the
“Yes” or “No”                   defendant cause bodily injury to Sergeant A.G.?


                                of the offense charged in Count 6 of the Indictment
“Guilty” or “Not Guilty”        (Assaulting, Resisting, or Impeding Officers)


                                of the offense charged in Count 7 of the Indictment
“Guilty” or “Not Guilty”        (Entering and Remaining in a Restricted Building or
                                Grounds)


                                of the offense charged in Count 8 of the Indictment
“Guilty” or “Not Guilty”        (Disorderly and Disruptive Conduct in a Restricted
                                Building or Grounds)


                                of the offense charged in Count 9 of the Indictment
“Guilty” or “Not Guilty”        (Engaging in Physical Violence in a Restricted
                                Building or Grounds)


                                of the offense charged in Count 10 of the
“Guilty” or “Not Guilty”        Indictment (Disorderly Conduct in a Capitol
                                Building or Grounds)


                                of the offense charged in Count 11 of the
“Guilty” or “Not Guilty”        Indictment (Act of Physical Violence in the Capitol
                                Buildings or Grounds)



       Signed this ___ day of                  , 2022.



                                               Presiding Juror



Verdict of the Jury—Page 2
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                 Exhibit 2
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

 v.                                                 No. 1:21-cr-158 (RC)

 KYLE FITZSIMONS

      GOVERNMENT’S OBJECTIONS TO DEFENDANT’S TRIAL EXHIBITS

       The government objects to the admission of Defense Exhibits 1 through 4, which

are FBI reports of interview (FD-302s) of U.S. Capitol Police Sergeant A.G. and

Metropolitan Police Department Detective P.N. on that grounds that they are hearsay.

The government intends to call Sergeant A.G. and Detective P.N. to testify at trial. The

government does not intend to call the FBI Special Agent who authored the reports.

       The government has no objection to Defense Exhibits 5 and 6.

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                 Exhibit 3
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

 v.                                                 No. 1:21-cr-158 (RC)

 KYLE FITZSIMONS

                            STIPULATIONS OF THE PARTIES

       The United States of America and the defendant, Kyle Fitzsimons, with the concurrence

of his attorney, agree and stipulate to the following:

                                        Stipulation #1
                               The Capitol Building and Grounds

       By law, the U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured twenty-four hours a day by U.S. Capitol Police (USCP). Restrictions around the Capitol

include permanent and temporary security barriers and posts manned by USCP. Only authorized

people with appropriate identification are allowed access inside the Capitol. At the U.S. Capitol,

the building itself has 540 rooms covering 175,170 square feet of ground, roughly four acres.

The building is 751 feet long (roughly 228 meters) from north to south and 350 feet wide (106

meters) at its widest point. The U.S. Capitol Visitor Center is 580,000 square feet and is located

underground on the east side of the Capitol. On the west side of the Capitol building is the West

Front, which includes variety of open concrete spaces, a fountain surrounded by a walkway, two

broad staircases, and multiple terraces at each floor. On January 6, 2021, the inaugural stage

scaffolding was on the West Front of the Capitol building. On the East Front are three staircases,

porticos on both the House and Senate side, and two large skylights into the Visitor’s Center

surrounded by a concrete parkway.




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       On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members of the

public. See Map Outlining Restricted Area on January 6, 2021, attached as Government Exhibit

601. Government employees placed security barriers including bike racks that were positioned

to the north of the U.S. Capitol along Constitution Avenue; to the south of the U.S. Capitol along

Independence Avenue; to the west of the U.S. Capitol along First Street on the eastern side of

that street; and, on the east side of the U.S. Capitol, between the Capitol Plaza (East Front) and

the grassy areas located between the Plaza and First Street. Government employees had placed

additional temporary barriers within the West Front of the Restricted Area due to preparations

and ongoing construction for the Inauguration which was scheduled for January 20, 2021,

including green snow fencing and signs stating, “Area Closed By order of the United States

Capitol Police Board.”

       On January 6, 2021, the Restricted Area described above and outlined in red in

Government Exhibit 601 was a posted, cordoned off, or otherwise restricted area where the Vice

President and members of his immediate family were and would be temporarily visiting, and

therefore constituted a “restricted building or grounds” as that term is used in Title 18, United

States Code, Section 1752(c).



                                         Stipulation #2
                         The Certification of the Electoral College Vote

       On January 6, 2021, a joint session of the United States Congress convened at the U.S.

Capitol. During the joint session, elected members of the United States House of Representatives

and the United States Senate were meeting in both the House and Senate chambers of the Capitol

to certify the vote count of the Electoral College of the 2020 Presidential Election, which had

taken place on Tuesday, November 3, 2020.


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       On January 6, 2021, the House of Representatives began its session at approximately

12:00 p.m., the Senate began its session at approximately 12:30 p.m., and the two Houses met

together at approximately 1:00 p.m. in the House of Representatives chamber to begin the joint

session. Vice President Mike Pence was in the Capitol building and presiding over the joint

session. At approximately 1:15 p.m., the House and Senate adjourned to their separate

chambers for up to two hours to resolve a particular objection.

       At approximately 2:12 p.m., Vice President Pence evacuated the Senate chamber, and

approximately one minute later the senator who had become the presiding officer in Vice

President Pence’s absence declared that the Senate would stand in recess. Senators evacuated

the Senate chamber.

       At approximately 2:15 p.m., Speaker Nancy Pelosi, who was presiding over the House of

Representatives, evacuated the House chamber, and approximately fifteen minutes later the

representative who had become the presiding officer in her absence declared that the House

would stand in recess. Representatives evacuated the House chamber.

       The joint session was suspended.

       The Senate and House resumed meeting at approximately 8:06 p.m. and 9:02 p.m.,

respectively. Congress’s joint session continued until approximately 3:44 a.m. on January 7,

2021, when it completed the certification of the Electoral College vote.



                                        Stipulation #3
                               The Activities on January 6, 2021

       Beginning at approximately 12:53 p.m. on January 6, 2021, and continuing until

approximately 6:30 p.m. on January 6, 2021, there were activities involving acts of violence by

assemblages of three or more persons, which caused an immediate danger of or resulted in


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damage or injury to the property or person of any other individual on the Grounds of the U.S.

Capitol and in the U.S. Capitol building.



                                            Stipulation #4
                                            Safeway Stores

       On January 6, 2021, at around 3:45 p.m., in response to Mayor Bowser’s order imposing

a curfew in the District of Columbia because of the events at the U.S. Capitol, Safeway closed all

12 of its stores in the District of Columbia as of 4:00 p.m. Safeway’s stores were supposed to

close at 11:00 p.m. Safeway later determined that its District of Columbia stores made between

18% and 47% less in sales to the public on January 6, 2021, than they had been projected to

make on that day.

       Safeway’s District of Columbia stores receive their shipments from a warehouse in

Pennsylvania. After 4 p.m. on January 6, 2021, the scheduled shipments for the remainder of the

day could not be delivered because the stores were closed and no employees were working.


                                        Stipulation #5
                                 Federally Protected Function

       The activities on the Grounds of the U.S. Capitol and in the U.S. Capitol building on

January 6, 2021, as described in Stipulation #3 adversely affected the United States Capitol

Police’s protection of the U.S. Capitol and the Capitol Grounds and the United States Secret

Service’s protection of the Vice President of the United States and immediate family members of

the Vice President.




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                                         Stipulation #6
                       Officers from the United States Capitol Police and
                       Washington, D.C., Metropolitan Police Department

        On January 6, 2021, officers from the United States Capitol Police (USCP) on the U.S.

Capitol Grounds and in the U.S. Capitol building were engaged in their official duties as officers

or employees of the United States or of any agency in any branch of the United States

Government, as those terms are used in Title 18, United States Code, Section 1114.

        On January 6, 2021, officers from the Washington, D.C., Metropolitan Police Department

(MPD) on the U.S. Capitol Grounds and in the U.S. Capitol building were assisting officers from

the USCP who were engaged in their official duties as officers or employee of the United States

or of any agency in any branch of the United States Government, as those terms are used in Title

18, United States Code, Section 1114.


                                        Stipulation #7
                 United States Capitol Police Closed Circuit Video Monitoring

        The United States Capitol Police (USCP) operate and maintain closed-circuit video

monitoring and recording equipment that captures locations inside and outside of the U.S.

Capitol building and on the Capitol grounds. The video equipment timestamps each recording

with the date and time at which the footage is captured. The events depicted in the video footage

are a fair and accurate depiction of events at the U.S. Capitol on January 6, 2021, and the

timestamps on the recordings are accurate, and the portions of the videos in Government

Exhibits 202 and 204 have not been altered or edited in any way, except that Exhibits 202 and

204 do not depict the entire events captured by the respective cameras. The video footage is

authentic in that it is what it purports to be.




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